                             Case 2:23-cv-00220-LPR Document 24 Filed 11/16/23 Page 1 of 2
                                                                                                                                                             FILED
                                                                                                                                                          U.S. DISTRICT COURT
✎AO 187 (Rev. 7/87) Exhibit and Witness List                                                                                                          EASTERN DISTRICT ARKANSAS

                                                                                                                                                           Nov 16, 2023

                                                 UNITED STATES DISTRICT COURT                                                                          Tammy H. Downs, Clerk
                                                                                                                                                     By: HeatherLyversClark D.C.
                                                                                                                                                  By:---------=--�
                                                                                                                                                                          DEP CLERK


                              EASTERN                                                  DISTRICT OF                                     ARKANSAS



                           Jones Digital, LLC
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
              Arkansas County, Arkansas et al.                                                                         Case Number: 2:23-CV-00220-LPR

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Hon. Lee P. Rudofsky                                               Alex/Greg Jones, Mr. Ogles, Mr. Giles                     Burt Newell
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 PI Hearing 11/16/2023                                              Valarie FLora                                             Heather Clark
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

                                                                    PLAINTIFF'S WITNESS LIST

   1                 11/16/2023                                     Clifford Evans

   2                 11/16/2023                                     Christian Lenderman

   3                 11/16/2023                                     Dr. Korrine Cope

   4                 11/16/2023                                     Qimin "Jimmy" Chen

   5                 11/16/2023                                     Tom Best, Arkansas County, Arkansas Judge




                                                                    PLAINTIFF'S EXHIBIT LIST

   1                 11/16/2023             X             X         July Noise Ordinance

   2                 11/16/2023             X             X         October Noise Ordinance

   3                 11/16/2023             X             X         Baseline Noise Ordinance

   4                                                                Christian Lenderman's CV

   5                 11/16/2023             X             X         Dr. Korrine Cope's CV

   6                 11/16/2023             X             X         Photograph of Dewitt Site

   7                 11/16/2023             X             X         Noise Level Charts

   8                                                                Riceland Sound Survey Locations Map

   9                                                                Delta Sound Survey Locations Map

  10                 11/16/2023             X             X         Other Stuttgart Sites Measurements

  11                 11/16/2023             X             X         Sealed

  12                 11/16/2023             X             X         Sealed

  13                 11/16/2023             X             X         Emails

  14                 11/16/2023             X             X         Resolution 2023-6 Filed November 14, 2023
* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    2      Pages
                       Case 2:23-cv-00220-LPR Document 24 Filed 11/16/23 Page 2 of 2

✎AO 187A (Rev. 7/87)              EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                                CASE NO.
             Jones Digital, LLC           vs.      Arkansas County, Arkansas et al.              4:08CR00412-001 SWW
 PLF.   DEF.      DATE
                            MARKED ADMITTED                                DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.     OFFERED

                                                DEFENDANTS' WITNESS LIST


         1     11/16/2023                       Tim Blair, Prosecuting Attorney for Arkansas County, Arkansas




                                                                                               Page     2       of   2   Pages
